         Case 5:24-cv-03811-EKL       Document 341-2    Filed 04/30/25      Page 1 of 8



 1   LATHAM & WATKINS LLP
       Joseph R. Wetzel (SBN 238008)                    Allison L. Stillman (pro hac vice)
 2       joe.wetzel@lw.com                                alli.stillman@lw.com
       Andrew M. Gass (SBN 259694)                     1271 Avenue of the Americas
 3      andrew.gass@lw.com                             New York, New York 10020
       Brittany N. Lovejoy (SBN 286813)                Telephone: +1.212.906.1747
 4      brittany.lovejoy@lw.com
       Ivana Dukanovic (SBN 312937)                      Rachel Horn (SBN 335737)
 5      ivana.dukanovic@lw.com                           rachel.horn@lw.com
     505 Montgomery Street, Suite 2000                 140 Scott Drive
 6   San Francisco, California 94111                   Menlo Park, California 94025
     Telephone: +1.415.391.0600                        Telephone: +1.650.328.4600
 7
       Sarang V. Damle (pro hac vice)
 8      sy.damle@lw.com
       Sara Sampoli (SBN 344505)
 9      sara.sampoli@lw.com
     555 Eleventh Street NW, Suite 1000
10   Washington, D.C. 20004
     Telephone: +1.202.637.2200
11
     Attorneys for Defendant Anthropic PBC
12
                             UNITED STATES DISTRICT COURT
13
                           NORTHERN DISTRICT OF CALIFORNIA
14                                 SAN JOSE DIVISION

15

16   CONCORD MUSIC GROUP, INC., ET AL.,        Case No. 5:24-cv-03811-EKL-SVK

17                   Plaintiffs,               DECLARATION OF OLIVIA CHEN IN
                                               SUPPORT OF ANTHROPIC’S SAMPLING
18         vs.                                 PROPOSAL IN CONNECTION WITH
                                               JOINT DISCOVERY DISPUTE
19   ANTHROPIC PBC,
                                               Hon. Eumi K. Lee
20                   Defendant.                Magistrate Judge Susan van Keulen

21

22

23

24

25

26

27

28

                                                                     CHEN DECL. ISO ANTHROPIC’S
                                                                             SAMPLING PROPOSAL
                                                                    CASE NO. 5:24-CV-03811-EKL-SVK
           Case 5:24-cv-03811-EKL           Document 341-2         Filed 04/30/25      Page 2 of 8



 1          1.      My name is Qinnan (Olivia) Chen, and I am a Data Scientist at Anthropic, PBC. I

 2   submit this declaration in support of Anthropic’s sampling proposal in connection with the pending

 3   Joint Discovery Dispute Statement. Dkt. 318. Unless stated otherwise, all facts stated herein are

 4   within my personal knowledge. If called upon, I would and could competently testify as to matters

 5   contained in this declaration.

 6          2.      I understand that on March 25, 2025, the Court ordered Anthropic to produce a

 7   “statistically significant” sample of Claude.ai prompt and output records from a dataset of

 8   hundreds of millions of records spanning from September 22, 2023 to March 22, 2024.1 I further

 9   understand that, at a minimum, the Court stated that the sample must include both pre-suit and

10   post-suit prompts and outputs and must not separate the outputs from their prompts. I understand

11   that despite extensive efforts to reach an agreement on a sampling protocol, the parties have been

12   unable to find common ground and are therefore submitting their respective positions regarding

13   the appropriate sample size and methodology for establishing a statistically significant sample.

14          3.      I hold a Bachelor’s Degree in Economics and Communication from the University

15   of California, Davis and a Master’s Degree in Statistics from American University. I have worked

16   as a data scientist for almost nine years, and have received certifications in the following: dbt

17   Fundamentals, Neural network and Deep Learning, and SAS Certified Base Programmer for SAS

18   9.

19          4.      Because of my educational and professional background, I am very familiar with

20   the well-established methodologies for drawing representative samples from which reliable

21   conclusions about a larger population can be drawn. When determining an appropriate sample

22   size, statisticians rely on several key techniques, including: simple random sampling, stratified

23   sampling, cluster sampling, and systematic sampling.

24
     1
25     In the field of statistics, the term “statistical significance” typically relates to the result of a
     hypothesis test—e.g., evaluating whether an observed effect in data is likely due to something
26   other than random chance. The term is not typically used to describe a sample of data itself. But
     I understand the Court to have essentially ordered the production of a “representative” sample—
27   i.e., sample of sufficient size to accurately estimate the prevalence of the relevant event (users
     seeking lyrics) in the full dataset.
28

                                                        1                       CHEN DECL. ISO ANTHROPIC’S
                                                                                        SAMPLING PROPOSAL
                                                                               CASE NO. 5:24-CV-03811-EKL-SVK
     -
              Case 5:24-cv-03811-EKL           Document 341-2        Filed 04/30/25      Page 3 of 8



 1             5.      The foundation of these approaches is the sample size formula, which is calculated

 2   based on several factors including the expected prevalence of the phenomenon being studied. For

 3   very large datasets, the formula is:

 4

 5

 6

 7             •    n = required sample size

 8             •    Z = Z-score (standard score) corresponding to the desired confidence levels (1.96 for

 9                  95% confidence)

10             •    p = expected prevalence (or proportion of the event in the population)

11             •    Erel = relative margin of error, expressed as a proportion

12   This formula represents the fundamental statistical approach for determining the minimum sample

13   size needed to make valid inferences about a very large dataset (like the one at issue here) with a

14   specified level of confidence and precision.2

15             6.      I understand the specific phenomenon under consideration involves an

16   exceptionally rare event: the incidence of Claude users requesting song lyrics from Claude. I

17   understand that this event’s rarity has been substantiated by manual review of a subset of prompts

18   and outputs in connection with the parties’ search term negotiations and the prompts and outputs

19   produced to date. In the absence of a pilot sample to calculate an estimated prevalence rate, a

20   reasonable prevalence rate for a rare event could easily be as low as 0.01% of all user interactions.

21       I.    Anthropic’s Sampling Proposal for Prompt and Output Data

22             7.      Based on established statistical principles and peer-reviewed research, Anthropic

23   proposes a random sample of 1 million Claude.ai prompt and output records, equally distributed

24   across the relevant time period from September 22, 2023, to March 22, 2024. This simple sampling

25   technique will result in a comprehensive sample that will include both pre-litigation and post-

26
     2
27     See, e.g., Penn State Univ., STAT 200: Elementary Statistics, Sample Size Estimation,
     https://online.stat.psu.edu/stat200/lesson/8/8.1/8.1.1/8.1.1.3 (last visited Apr. 30, 2025).
28

                                                           2                      CHEN DECL. ISO ANTHROPIC’S
                                                                                          SAMPLING PROPOSAL
                                                                                 CASE NO. 5:24-CV-03811-EKL-SVK
     -
           Case 5:24-cv-03811-EKL           Document 341-2         Filed 04/30/25       Page 4 of 8



 1   litigation interactions, as the lawsuit was initiated on October 18, 2023, and will maintain the

 2   integrity of the dataset by preserving prompt-output pairs as complete units.

 3          8.       Given the effectively unlimited nature of the dataset in question and the extremely

 4   low prevalence rates discussed above, statistical analysis confirms that a 1 million record sample

 5   size far exceeds what would be required to obtain a sample of sufficient size to draw accurate

 6   inferences about the prevalence of even rare events like seeking song lyrics. As demonstrated in

 7   my calculations below, this sample size provides exceptional confidence levels and minimal

 8   margins of error.

 9          9.      Using standard statistical methods, including the validated sample size formula

10   outlined above, I have calculated that 614,595 prompt-output records would adequately capture a

11   statistically significant cross-section of the relevant data for prevalence rates as low as 0.01% using

12   a 25% relative margin of error. This 25% relative margin of error is widely accepted by

13   statisticians as reasonable and appropriate when estimating sample sizes for extremely rare events.

14   Reliance on the 25% relative margin of error parameter is extensively supported by peer-reviewed

15   research in medical statistics, epidemiology, and large-scale data analysis, where rare event

16   detection must balance statistical power with practical limitations.3

17          10.     Even if we apply more stringent statistical parameters than typically required for

18   rare events like seeking song lyrics on Claude, an appropriate sample size would still be less than

19   1 million records. Based on calculations using the standard sample size formula, I have determined

20   that 960,304 prompt and output records would be adequate to capture a statistically significant

21   cross-section of the relevant data for prevalence rates as low as 0.01% using a more conservative

22

23
     3
      See Julien Dutant & Julia Staffel, A Statistician’s Guide to Making Sound Inferences from Noisy
24   Data,          78        American          Statistician       437,         437–449         (2024),
     https://www.tandfonline.com/doi/full/10.1080/00031305.2024.2350445; Lokesh K. Singh et al.,
25   Brief Intervention for Tobacco when Diagnosed with Oral Cancer (BITDOC): Study protocol of a
26   randomized clinical trial studying efficacy of brief tobacco cessation intervention, Chhattisgarh,
     India at 4 (2020), https://pmc.ncbi.nlm.nih.gov/articles/PMC7291894/; Lower Windward
27   Environmental LLC, Lower Duwamish Waterway Pre-Design Studies Data Evaluation Report
     (Task 6) at 6, 65 (2020), https://semspub.epa.gov/work/10/100248737.pdf.
28

                                                         3                       CHEN DECL. ISO ANTHROPIC’S
                                                                                         SAMPLING PROPOSAL
                                                                                CASE NO. 5:24-CV-03811-EKL-SVK
     -
           Case 5:24-cv-03811-EKL          Document 341-2        Filed 04/30/25      Page 5 of 8



 1   20% relative margin of error. These calculations demonstrate that Anthropic’s proposed sample

 2   size provides robust statistical power even under more demanding precision requirements.

 3          11.      I have further analyzed scenarios where the prevalence rate of song lyrics requests

 4   might be even lower than initially estimated. Notably, across multiple statistical scenarios with

 5   varying prevalence rates and confidence parameters, the mathematically sound sample size

 6   consistently converges around 1 million records.

 7          12.      For example, assuming an extremely low prevalence rate of 0.006% while

 8   maintaining the statistically accepted 25% relative margin of error would result in a required

 9   sample of 1,024,365 prompt and output interactions. This calculation, consistent with established

10   statistical principles for rare event detection, further confirms that a sample of approximately 1

11   million records provides more than a statistically sound dataset from which to draw reliable

12   conclusions about Claude usage patterns, including rare events such as lyrics requests.

13          13.      A sample size of 1 million prompt and output interactions is also strategically

14   sufficient to neutralize potentially confounding variables that must be accounted for to ensure

15   statistical validity and representativeness.    Anthropic’s proposed 1 million record sample

16   effectively controls for temporal variations in Claude interaction patterns—ensuring adequate

17   representation of both high and low traffic periods across different days of the week and times of

18   day. It would also successfully neutralize variations in user demographics, including subscriber

19   status (paid versus free Claude users), geographic distribution, and language preferences, thereby

20   providing a genuinely representative cross-section of the overall data population which amounts

21   to hundreds of millions of records.

22          14.      Anthropic’s proposed 1 million record sample not only satisfies but substantially

23   surpasses the requirement to produce a representative sample of Claude.ai interactions. It reflects

24   statistical best practices for analyzing rare events within large-scale datasets and will provide a

25   scientifically valid basis for drawing conclusions about the broader population of prompt-output

26   interactions.

27

28

                                                        4                     CHEN DECL. ISO ANTHROPIC’S
                                                                                      SAMPLING PROPOSAL
                                                                             CASE NO. 5:24-CV-03811-EKL-SVK
     -
Case 5:24-cv-03811-EKL   Document 341-2   Filed 04/30/25   Page 6 of 8
           Case 5:24-cv-03811-EKL           Document 341-2        Filed 04/30/25      Page 7 of 8



 1   or 20 million is not necessary or advisable to achieve statistically valid results for even very rare

 2   events.

 3             18.   This is because a sample that is larger than necessary risks diminishing returns; any

 4   potential benefit would be significantly outweighed by the effort and expense required to properly

 5   analyze such a large dataset, especially where a 1 million record sample would be considered

 6   sufficient. A larger sample also requires and consumes more resources. In the field of statistics,

 7   it is considered an unethical waste of resources to use unnecessarily large samples.

 8             19.   Both variations of the Publishers’ sampling proposal also suffer from fundamental

 9   methodological flaws that would severely compromise the statistical validity of any findings

10   derived from such samples. First, data collected exclusively from a fixed set of calendar days

11   before and after the complaint presents significant risks of temporal bias and would fail to be

12   representative of the entire universe of interactions across the relevant time period (September 22,

13   2023 to March 22, 2024). This systematic bias would produce distorted results that could not be

14   reliably extrapolated to the broader population of interactions.       In contrast, proper random

15   sampling techniques across the entire time period, as proposed in Anthropic’s methodology, would

16   effectively eliminate this source of bias while requiring only a fraction of the data volume.

17             20.   Second, the Publishers’ proposed fixed-day sampling method lacks the diversity of

18   a wider time window, and introduces multiple additional sources of non-representativeness that

19   would further undermine statistical validity. These include, for instance: (1) day-of-week biases

20   that fail to account for documented variations in user behavior between weekdays and weekends;

21   (2) failure to account for Anthropic’s rapidly evolving user base during the relevant period; (3)

22   heightened risk of capturing anomalous activity in the days immediately surrounding the legal

23   filing, including potential testing or monitoring by Publishers or their agents that would not

24   represent typical user behavior; and (4) failure to account for product updates or marketing

25   campaigns that may have influenced user behavior during the selected timeframe.

26             21.   In sum, fixed-day sampling is a high-volume, high-cost method that risks

27   introducing biases that would not be present in a diverse sample from a wider time window. A

28

                                                        6                      CHEN DECL. ISO ANTHROPIC’S
                                                                                       SAMPLING PROPOSAL
                                                                              CASE NO. 5:24-CV-03811-EKL-SVK
     -
Case 5:24-cv-03811-EKL   Document 341-2   Filed 04/30/25   Page 8 of 8
